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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

 GOINES                                             :
                                                    :    Civil Action No. 2:22-cv-04560-KM-ESK
 Plaintiff(s)                                       :
                                                    :
 v.                                                 :               CLERK’S ORDER
                                                    :
 CELSIUS NETWORK LLC, et al                         :
                                                    :
 Defendant(s)                                       :



        This matter having come before the Court upon the filing of Pro Hac Vice Request for
NEF, filed on September 19, 2022 on behalf of John D. Radice, counsel for the plaintiff in the
above-captioned matter, and it appearing that the pleading was electronically filed using the
Court’s CM/ECF filing system and the payment of filing fees made via Pay.gov; and it further
appearing that:
         ☐        a.   An overpayment has been made by the filer; OR

         ☒        b.   A duplicate charge in Pay.gov occurred during the credit card/ACH
                       processing; OR
         ☐        c.   A duplicate, identical Pro Hac Vice Request for NEF was filed more than
                       once by the same attorney or the same law firm; OR
         ☐        d.   This filing does not require a filing fee; and for good cause shown;


IT IS on this 20th day of September 2022,
        ORDERED THAT, the sum of $150.00 is refunded through Pay.gov.


                                            WILLIAM T. WALSH, CLERK



                                            By:
                                                  Theresa L. Burnett
                                                  Chief Deputy Clerk
